     Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 1 of 27




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V.                                        CASE NO. 1:23-CR-104-TNM

JONATHAN ALAN ROCKHOLT,

      DEFENDANT.
______________________________/

                    SENTENCING MEMORANDUM

      Defendant Jonathan Alan Rockholt, by and through undersigned

counsel, respectfully submits this sentencing memorandum for the Court’s

consideration.

I.    SUMMARY

      Mr. Rockholt graduated high school and worked mostly as a laborer for

his adult life. He has not traveled extensively nor is he someone considered

worldly.

      Mr. Rockholt supported President Donald Trump. In 2020, he attended

many Trump events and rallies. In this way, he became acquainted with Mark
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 2 of 27




Clark, the leader of Volusia for Trump. 1 They were friendly, but not close

friends. Mr. Rockholt was invited to Mr. Clark's home on a few occasions.

      In mid-to-late December, 2020, Mr. Clarke asked Mr. Rockholt if he

wanted to join a group called Guardians of Freedom, a community group

dedicated to protecting the Constitution. Mr. Rockholt joined at that time. Mr.

Clarke also informed Mr. Rockholt that in January, the Guardians of Freedom

would have an event in Washington, and asked if Mr. Rockholt would care to

accompany him and a few others. Mr. Clarke told Mr. Rockholt that there

would be a speaking event near the Ellipse, and that the group would help seat

people, and provide security for the event. Mr. Clarke asked Mr. Rockholt to

participate because Mr. Rockholt held a Florida security guard license. The

people who would be going to this event were all people Mr. Rockholt had met

at Trump rallies.

      Mr. Clarke told Mr. Rockholt that this was a free trip. All his expenses

were paid, except for the gasoline which Mr Rockholt contributed to for the

drive to Washington. Mr. Rockholt had never been to Washington, this seemed




1      Volusia is a reference to Volusia County, Florida, which is located on
Florida’s east coast.
                                          2
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 3 of 27




to him to be a wonderful opportunity. At no time before the trip did Mr. Clarke

or anyone else discuss entering the Capitol, or preventing the certification of

the election. He was, however, advised to bring protective gear because of

previous attacks that had been made upon Trump supporters.

      Mr. Rockholt and Chuck Martin, with whom Mr. Rockholt rode to

Washington, checked into their rooms on January 5, and the next morning, Mr.

Rockholt and perhaps 20 other people met in front of the hotel, to walk together

to the site where the speaking event was to take place. When they arrived, there

was total confusion. Nobody appeared to be in charge, nobody told them what

to do, and most of the group was angry about this. When some stranger

ordered Mr. Rockholt and Mr. Martin to pick up trash, they got disgusted and

decided to leave. Mr. Rockholt returned to the hotel.

      Thereafter, Mr. Rockholt heard a commotion in the hall. When he looked

out, one of the people in the hall told him to get dressed, because they were

going to the Capitol. As far as Mr. Rockholt knew, this was to be a simple

protest. He did not know that Congress was certifying the election, or that it

was any part of the purpose of the group to prevent Congress from doing so.




                                       3
      Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 4 of 27




       Mr. Rockholt and the group walked right up to the Capitol, with no

resistance. No one stopped them to tell them they couldn’t be there. They did

not break any gate or fence, or anything. If police officers had told him they

weren't allowed to be there, he would have left.

       When Mr. Rockholt neared the Tunnel, there was chaos. People were

screaming and pushing against each other. Mr. Rockholt did see police officers

facing the crowd, but was caught up in the moment cheering for Trump. Plainly

put, Mr. Rockholt did not intentionally contribute to what the PSR describes as

the “heave-ho.” Rather, his body was being pushed against the bodies of people

in front of him, by people behind him. As for the shield, Mr. Rockholt offers no

excuse for that lapse of judgment.

II.    APPLICABLE LAW

       It is now well established that the Sentencing Guidelines are advisory

only. United States v. Booker, 543 U.S. 220, 245-67 (2005). The Court must

consider every convicted person as an individual, and every case as unique.

Gall v. United States, 552 U.S. 38, 53 (2007). To treat the guidelines as mandatory

violates a defendant’s Sixth Amendment rights, Booker, 543 U.S. at 244-245, and




                                        4
       Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 5 of 27




for the sentencing judge to treat the guidelines as presumptively reasonable is

also error, Rita v. United States, 551 U.S. 338, 351 (2007).

III.    THE RELEVANT 18 U.S.C. § 3553(A) FACTORS

   A. 18 U.S.C. § 3553(a)(1), Nature and Circumstances of the Offense

        Although Mr. Rockholt, by entering a plea of guilty, acknowledges that

he committed the offense charged, the offense was not something he planned

so much as it was something he fell into. As described in the summary above,

Mr. Rockholt was offered a free trip. The services he was asked to provide were

ordinary, reasonable, and not criminal. He traveled to Washington, D.C. to

provide security services for a speaking event. He did not travel there with the

intent to enter the Capitol Building. He followed the group he was with to the

Capitol, and committed the offense while caught up in a highly emotional

crowd of people.

                            Notable Errors in the PSR

        Mr. Rockholt accepts the overall description of the events of January 6,

2021 as related in paragraphs 15 through 21, but has objected to certain

statements in the draft PSR which relate to his own participation. The objections

relate to specific provisions where the U.S. Probation Office (“USPO”) failed to


                                          5
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 6 of 27




meaningfully conduct an independent assessment and consider the actual

conduct in this case. In each instance, the USPO failed to find evidence

sufficient to include this information in the PSR, but did so nonetheless.

      In the addendum, the USPO concedes that to include relevant conduct,

the standard is proof is by preponderance of the evidence. The preponderance

of the evidence standard requires the Court to “make a comparative judgment

about the evidence” to determine whether a proposition is more likely true than

not true based on the evidence in the record.” Almerfedi v. Obama, 654 F.3d 1, 5

(D.C. Cir. 2011).

                         ¶ 29 – No Evidence of a Knife

      Paragraph 29 states that Mr. Rockholt wore “what appeared to be a knife

in his front right pocket.” This is included because a federal agent wrote in a

complaint that the first picture at paragraph 29 showed something in Mr.

Rockholt’s pocket that appeared to be a knife. All that is visible in the picture

the PSR contains is a metal clip, which could be attached to anything. Because

it could be anything, the USPO’s assertion that this appears to be a knife is not

even a reasoned conclusion, it is a mere guess.




                                       6
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 7 of 27




      Even the government concedes there is no evidence to prove that a knife

was present. No cooperators have said that Mr. Rockholt had a knife. Mr.

Rockholt did not take a knife to Washington. This cutting and pasting from the

complaint is significant to Mr. Rockholt even though it adds no points to his

guidelines score. The Bureau of Prisons can use this information to assess Mr.

Rockholt a higher security risk rating when designating him to a facility.

      The USPO reports to this Court that the government contends “the

information in the Complaint is ‘accurate…’” The Complaint describes that

item as “what appears to be a knife...” Dkt. 5-1 at 13. The agent, under oath,

does not say that it is a knife. Despite this the USPO’s response goes even

further off field to say “the Government takes that position that the statement

about the knife is accurate.” In short, the government concedes that the agent

believes it appeared to be a knife, not that it was a knife. Notably, the

government does not rely on the item being a knife to justify the sentence it has

recommended to this Court. Dkt. 73.

      Simply put, there is no evidence other than the picture that supports the

USPO’s conclusion. While it has been reported (and this Court has seen) that

some rioters had weapons on January 6, that cannot be used to generally prove


                                       7
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 8 of 27




that Mr. Rockholt had a knife. The picture does not depict sufficient evidence

that makes it more likely than not that Mr. Rockholt had a knife. All references

to a knife should be stricken from the PSR.

           ¶¶ 22, 24, 25, 26, 28, 29 & 90 – Never a B Squad Member

      Several paragraphs broadly imply that Mr. Rockholt was a member of B

Squad, and explicitly state that he identified himself as such. This is also

inaccurate. Accordingly, Mr. Rockholt has objected to those references in

paragraphs 22, 24, 25, 26, 28, 29, and 90. Mr. Rockholt was a member of

Guardians of Freedom and of the Three-Percenters but not of B Squad. During

the FBI interview, he denied being a member of B Squad, and in fact, did not

know what it was. At no time did he identify himself as a member of B Squad

– and the Complaint never details when he did so. He was not wearing a B

Squad insignia, did not receive the “Calling All Patriots!!” flyer, and was not

on the B Squad distribution list. The paragraphs of the PSR which describe

actions by unidentified B Squad members should not impute those actions to

Mr. Rockholt.

      The USPO contends that Mr. Rockholt self-identified as a B Squad

member yet fails to include any evidence where Mr. Rockholt held himself out


                                       8
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 9 of 27




to be a B Squad member. The USPO relies on several things, none of which

individually or collectively, meet the preponderance of evidence standard. For

example, Mr. Rockholt had “contact” with B Squad members. That contact is

not further defined. Mr. Rockholt had contact with the Court during his change

of plea hearing, but that does not make him a member of the federal judiciary.

While Mr. Rockholt stayed in a hotel with a number of people who belonged

to various groups that rioted on January 6, he does not automatically become

members of their groups – much less just the ones that stayed on the same floor

he did. Again, the government does not suggest in its sentencing memorandum

that Mr. Rockholt was a B Squad member. Dkt. 73.

   B. 18 U.S.C. § 3553(a)(1), Defendant’s History and Characteristics

      Mr. Rockholt is a lifelong resident of Central Florida. His parents, with

whom he currently lives, reside in Palm Coast, Florida. His brother

Christopher, is in the Army and is stationed in Oklahoma. He is unmarried,

and has no children.

      Mr. Rockholt grew up in a lower middle class home. His parents

sometimes struggled, but always provided adequately for him and his brother.




                                      9
   Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 10 of 27




His parents are very supportive; they are contributing to his legal fees. Mr.

Rockholt’s brother also remains supportive.

      Mr. Rockholt graduated from St. Cloud High School in St. Cloud, Florida.

He has no further formal education. He is a skilled machine operator and truck

driver. He has a Class A Commercial Driver's License. He has a State of Florida

Security Officer license, but will lose it based on the felony conviction in this

case. He has been continuously employed since 2011.

      Mr. Rockholt excelled at two jobs in his life, serving Volusia County as a

senior maintenance worker in the Parks Department and serving as an armed

security officer for companies that faced high risk of thefts. Mr. Rockholt

resigned from the Volusia County job, one that included retirement and health

benefits, because a supervisor told him that this offense was going to result in

Mr. Rockholt’s termination. The supervisor suggested that if Mr. Rockholt

wanted his job back after this case concluded, his prospects would be better if

he resigned rather than be fired. Further, the supervisor told Mr. Rockholt

when applying for any future job it would look better if he resigned rather than

be fired. A collateral consequence of this conviction will be Florida’s

termination of Mr. Rockholt’s armed security guard license. As a consequence


                                       10
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 11 of 27




of his action, Mr. Rockholt has worked to obtain his commercial driver license

and has learned to drive commercial vehicles. In short, he is starting over again.

      Mr. Rockholt is in good health, both physically and mentally. He has had

three alcohol-related misdemeanor traffic convictions, at ages 20, 22, and 32.

After the third conviction, in 2016, he attended Alcoholics Anonymous

meetings, and currently does not abuse alcohol. He does not use drugs. The

criminal driving convictions are Mr. Rockholt's only criminal convictions. In

each case, he was sentenced to a term of probation, which he successfully

completed.

      Mr. Rockholt was released, under the supervision of the Pretrial Services

Agency and has not violated any condition of pretrial release.

   C. 18 U.S.C. § 3553(a)(2)(A) Need for the Sentence to Reflect Seriousness of
      the Offense, Promote Respect for the Law, and to Provide Just
      Punishment.

      An important aspect of this factor is to distinguish between the aggregate

conduct of all the January 6, 2021 protesters and Mr. Rockholt’s conduct. A

broad range of conduct occurred, ranging from peaceful, non-criminal protest

involving pure First Amendment speech, to violent attacks against police

officers. The attack was a serious wrong, but Mr. Rockholt’s individual conduct


                                       11
   Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 12 of 27




was not the most serious. He trespassed in the Capitol and into the Tunnel, and

picked up a police shield, which he passed on to others and which has not been

recovered. Although the PSR describes him as contributing to an effort by the

crowd to push police officers who were blocking entry to the Capitol, Mr.

Rockholt did not voluntarily contribute to this effort. Rather, he was trapped

between persons who were pushing him from behind, and persons who were

pushing against the police officers. He was unable to extricate himself from the

crowd. It is essential to the goals of sentencing that those who beat law

enforcement officers and vandalized the Capitol be prosecuted and punished

more harshly than those who were merely caught up in the event. It does not

serve the goals of 18 U.S.C. § 3553(a) for the law to punish Mr. Rockholt not

only for his own conduct, but for the actions of those who behaved violently.

   D. 18 U.S.C. § 3553(a)(2)(B) Afford Adequate Deterrence to Criminal
      Conduct

      18 U.S.C. § 3553(a)(2)(B) requires the court to consider the need to afford

adequate deterrence to criminal conduct. Note the word “consider.” This is not

synonymous with “assume” that sentencing naturally and inevitably

accomplishes general deterrence. That is an assumption that has been

disproved.

                                       12
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 13 of 27




      It may have been true that harsh punishment accomplished general

deterrence in the days when people were hanged in public, or displayed in the

stocks and pillory, or tied to a whipping post in the middle of the town square.

It is not unreasonable to assume that people who actually see what committing

a crime may cost them will be deterred from taking the risk of such

punishment. It is not reasonable to make that assumption when the penalty

imposed is not made clear to the public in such a visceral way; when the penalty

is, for all practical purposes, hidden from the public.

      So to “consider” general deterrence should include to “consider”

whether sentencing actually accomplishes deterrence. All the research for 30

years and more shows that it does not.

      Deterrence is a negligible factor. Although deterrence is an important

goal, the idea that harsh sentencing works to accomplish this goal is a myth -

wishful thinking on the part of the government and the public. A Department

of Justice study found that certainty of being caught is a vastly more powerful

deterrent than punishment. The National Institute of Justice, Five Things About

Deterrence, [Five Things] United States Department of Justice, (May, 2016).




                                       13
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 14 of 27




      The theory behind increasing punishment to effect deterrence arises from

the belief that “the severity of punishment may influence behavior if potential

offenders weigh the consequences of their actions and conclude that the risks

of punishment are too severe.” Wright, Valerie, Deterrence in Criminal Justice;

Evaluating Certainty vs. Severity of Punishment [Certainty vs. Severity] The

Sentencing Project (2010) at 2. 2 The fallacy of this theory is that it assumes that

people act rationally and consider the consequences of their actions before

deciding to commit a crime. Additionally, potential offenders are unlikely to

be aware of the specifics of sentencing policies. Certainty vs. Severity at 3. The

same conclusion has been reached by many judges, with respect to a variety of

crimes:   remarks by judges who presented at the 2000 Economic Crimes

Symposium sponsored by the Sentencing Commission indicated their firm

belief that the loss tables don't deter anyone, because defendants have no idea

they exist. U.S. Sent’g Comm’n, Symposium on Federal Sentencing Policy for

Economic Crimes and New Technology Offenses, Plenary session III at 68-69 (2000)

[Symposium]. One judge suggested, regarding the drug guidelines, that the




2     Available at http://www.sentencingproject.org/wp-
content/uploads/2016/01/Deterrence-in-Criminal-Justice.pdf.
                                        14
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 15 of 27




U.S. Attorney get billboards and advertise what the guidelines sentences are.

Symposium at 68. Certainty vs. Severity reports on several studies conducted

between 1971 and 2003 that have concluded that harsh sentences do not reduce

recidivism, rather, they increase it. Certainty vs. Severity at 6-7.

        So far as undersigned counsel has been able to determine, this has been

the conclusion reached by every such study, including at least one by the

Department of Justice. 3 As to the goal of deterrence, harsh sentences just don't

work.



3
       National Institute of Justice, Five Things About Deterrence, United States
Department of Justice (May, 2016). Sending an offender to prison is not effective way
to deter crime; increasing the severity of punishment does little to deter crime.
        Gary Kleck and J.C. Barnes, Deterrence and Macro-Level Perceptions of Punishment
Risks: Is There a “Collective Wisdom”?, 59 Crime & Delinquency 1006, 1031-33 (2013)
(increases in punishment levels do not deter crime because the fundamental link
between actual punishment levels and perceptions of punishment levels appears to
be weak to nonexistent.)

        Zvi D. Gabbay, Exploring the Limits of the Restorative Justice Paradigm: Restorative
Justice and White Collar Crime, 8 Cardozo J. Conflict Resol. 421, 447-48 (2007) (certainty
of punishment is empirically known to be a far better deterrent than severity.).

        Michael Tonry, Purposes and Functions of Sentencing, 34 Crime & Just. 1, 28
(2006) (Research has consistently shown that while the certainty of being caught and
punished has a deterrent effect, increases in severity of punishments do not yield
significant (if any) marginal deterrent effects).
      David Weisburd et al., Specific Deterrence in a Sample of Offenders Convicted of
White Collar Crimes, 33 Criminology 587 (1995) (Research regarding white collar offenders
                                            15
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 16 of 27




       The government suggests in its sentencing memorandum, dkt. 73, that

Mr. Rockholt’s social media posts three days after riot demonstrate a lack of

remorse. Of course, the government is correct that three days later Mr. Rockholt

did not express any remorse. However, on August 24, 2022, 20 months later,

when agents arrested Mr. Rockholt, Mr. Rockholt expressed great remorse,

voluntarily confessed to his role without asking for counsel, and did not insist

that the government indict him, as others who were charged in the same

complaint have insisted.

   E. 18 U.S.C. § 3553(a)(2)(C) Protect the Public from Further Crimes

       Mr. Rockholt’s previous offenses were all misdemeanor traffic violations,

alcohol related. The most recent was more than six years ago, and Mr. Rockholt

has stopped abusing alcohol. Nothing in his background indicates that he is

likely to commit a criminal offense in the future. Further, when federal agents

went to Mr. Rockholt’s house to arrest him, Mr. Rockholt cooperated and

provided a voluntary statement to agents. He has pleaded guilty,




in particular (presumably the most rational of potential offenders) found no difference in the
deterrent effect of probation and that of imprisonment).

                                             16
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 17 of 27




demonstrating both that he recognizes his own culpability and his intention to

respect the law in the future.

        F. 18 U.S.C. § 3553(a)(3) Kinds of Sentences Available

        Count One, civil disorder, is a Class D felony. The maximum term of

incarceration is five years, the maximum fine is $250,000, and the maximum

term of supervised release is three years. Count Two, theft of government

property, is a misdemeanor. The maximum term of incarceration is one year.

maximum fine is $100,000, and the maximum term of supervised release is one

year.

   G. 18 U.S.C. § 3553(a)(4) Kinds of Sentence and the Sentencing Range

        The estimated offense level is 12. For a Category I offender, the applicable

sentencing range is in Zone C, 10 to 16 months, for which incarceration is not

required.

   H. 18 U.S.C. § 3553(a)(6) Need to Avoid Unwarranted Sentence Disparities
      Among Defendants with Similar Records

        On January 6, 2021, thousands of protesters stormed the U.S. Capitol.

They came with varying intentions and performed a wide range of actions. The

presence of each individual rioter contributed to the chaos of the day, helped

to outnumber police officers who were guarding the Capitol, and ultimately
                                         17
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 18 of 27




delayed the peaceful transition of Presidential power. Each demonstrator

contributed to the mayhem in his own way. Some were actively violent. Some

made threats. Some damaged property. Some were leaders, and some were

followers. Many fell somewhere along that continuum. Those individuals who

have been prosecuted have been charged with a wide variety of criminal

offenses.

      Mr. Rockholt’s conduct falls closer to the less serious end of the

continuum. He was charged with, and pled guilty to, two offenses. He was not

charged with an act of violence. The following examine similar cases that have

occurred before this Court. 4

      In United States v. Petrosh, case number 1:21-cr-347-TNM, the defendant

was a former U.S. Marine who pled guilty to a misdemeanor count of theft of

government property, in violation of 18 U.S.C. § 641. According to the

government’s sentencing memorandum, the defendant deliberately positioned

himself at the front of a standoff with Capitol Police inside the Crypt, said to an

officer “Give us Nancy” and was at the front of pack of rioters who chased law


4      While the government uses cases before other members of this Court, Mr.
Rockholt knows this Court did not have the benefit of the factual basis for those
cases or the PSRs. Accordingly, Mr. Rockholt’s analysis is limited to those cases
assigned to this Court.
                                         18
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 19 of 27




enforcement officers down a hallway and into the Hall of Columns. He did not

thereafter leave the building through the Hall of Columns but turned back to

rejoin the fray inside the building. The defendant stole two microphones from

the Speaker’s lectern and smoked a cigarette in the Rotunda. When agents

interviewed the defendant, he minimized his conduct and post-plea told agents

that Congress was “lucky that’s all that happened.” As of the date of

sentencing, the defendant did not regret storming the Capitol and believed his

actions were justified. The government asked for a sentence of 120 days

incarceration. The Court imposed a sentence of 10 days incarceration, with

credit for time served.

      In United States v. Council, case number 1:21-cr-207-TNM, the defendant

pled guilty to six offenses in the indictment against him, including one count

of civil disorder, a violation of 18 U.S.C. § 231. The defendant did not enter into

a plea agreement with the government. In its sentencing memorandum, the

government described the defendant, a former college football player, as

committing an act of violence against police officers by lowering his head stuck

out his arms, and rammed into a line of police officers. The government asked




                                        19
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 20 of 27




for a sentence of 30 months incarceration. The Court imposed 60 months of

probation with six months home detention.

      In cases where this Court imposed prison time, there were more charges,

or charges including violent conduct by the defendant. The first case involves

two defendants in United States v. McCaughey, et. al, case number 1:21-cr-40-

TNM – Tristan Stevens and David Mehaffie.

      Stevens was convicted after a bench trial of 10 counts in the fifth

superseding indictment, including section Civil Disorder, Engaging in Physical

violence in a Restricted building, and an Act of Physical Violence in the Capitol

Grounds or Buildings. Stevens threatened police officers by asking them if they

were ready to be killed for being traitors and called then cowards. “For the next

one and a half hours, Stevens assumed an integral role in the attack on officers

in the strive to enter the Capitol building.” 1:21-cr-40, Dkt. 555 at 6-7. Stevens

even assumed a leadership role to coordinate the mob attack against officers,

including yelling “heave” as he used his full force and a riot shield in a heave-

ho push against officers. At trial, the officer Stevens physically pinned with the

riot shield recounted the attack he suffered. The government sought a sentence

of 78 months and this Court sentenced Stevens to a total of 60 months.


                                       20
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 21 of 27




      David Mehaffie was also found guilty after a bench trial on the fifth

superseding indictment of several counts, including an Act of Physical Violence

in the Capitol Grounds or Buildings. In the government’s sentencing

memorandum, it detailed how the defendant led the assault into the Lower

West Terrace Tunnel “bringing the mob toe-to-toe” against officers. 1:21-cr-40,

dkt. 526 at 13. “For the twenty-six minutes that Mehaffie perched himself at the

tunnel entrance he was, in every sense of the word, a leader.” Id. Without

hesitating, Mehaffie entered through the outer – now broken – set of glass

doors, opened the inner set of glass doors, and held the door open as other

rioters walked directly up to the officers inside.” Id. at 15. Although engaged in

a violent push against officers, “he did not personally engage in physical

violence.” Id. The government recommended a 67 month sentence, the Court,

after only crediting a portion of Mehaffie’s trial testimony, sentenced him to 14

months, one month more than the government’s request in this case. Mehaffie

is serving his sentence at the Federal Correctional Institute in Ashland,

Kentucky.




                                       21
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 22 of 27




https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results (last

visited June 30, 2023).

      For comparison, the government uses United States v. Lints, et. al, 1:22-cr-

259-TNM. Both defendants, like Mr. Rockholt, were arrested on a complaint.

However, the government had to indict both defendants and both defendants

engaged in conduct that was significantly worse than what Mr. Rockholt did,

as explored below.

      According to the government, Lints “engaged in a coordinated push”

and used a police shield to prevent officers “from closing the metal door to

separate the police from the rioters. He then pushed the police shield against a

police shield being held by an officer.” 1:22-cr-259, dkt. 58 at 2. Lints actually

made physical contact with the line of police officers, and handled a total of

three police shields during his time rioting at the Capitol. Finally, Lints posted

on social media and appeared on a podcast after his arrest in which he justified

his conduct “to prevent officers from assaulting protesters.” Id. at 8. Shortly

before sentencing, Lints posted on social media that law enforcement officers

brutally attacked protestors and that the FBI instigated the January 6 riot. See

id. at 10-12. Lints pleaded guilty to one of six counts.


                                        22
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 23 of 27




      Lints was sentenced to 4 months and his conduct was far more serious

that what Mr. Rockholt did on January 6. Further, Lints continued to foster false

narratives inconsistent with accepting responsibility after he pleaded guilty,

something Mr. Rockholt has not done.

      Bernard Sirr, the co-defendant, was a former member of the U.S. military

and nuclear engineer at the Rhode Island Nuclear Science Center on January 6,

2021. According to the government, Sirr “engaged in a coordinate push

against” officers. Dkt. 53 at 2. Sirr was a Proud Boys member. See id. at 3. Sirr

was so close to officers in the Lower West Tunnel that he placed his hands on

a police shield that an officer held and pushed against it. See id. at 6. Sirr also

“engaged in a coordinated ‘heave ho’ series of thrusts against the police

guarding the tunnel.” Id. Sirr entered the tunnel and made his way to the front

two separate times on January 6. See id. When agents arrested Sirr, he lied about

engaging in violence. See id. at 15. He also failed to disclose his violent acts in a

proffer before his plea. See id. at 15-16. Further, during the proffer Sirr said he

acted to protect a couple and their minor child, but the government never

found any evidence that such a family existed at the riot. See id. at 16-17. Sirr




                                         23
   Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 24 of 27




also pleaded guilty to one count of the six in the indictment that was pending

against him.

      Sirr was sentenced to 2 months and his conduct was far more serious that

what Mr. Rockholt did on January 6. Further, Sirr lied to agents during his

confession and misled offices in a proffer before his plea but after his arrest,

something Mr. Rockholt has not done.

      Mr. Rockholt’s conduct on and after January 6, 2021, was less severe than

Petrosh, Council, Stevens, Mehaffie, Lints, and Sirr. Further, his conduct during

the pendency of his criminal case has been far less reprehensible than that of

Lints and Sirr. Accordingly, Mr. Rockholt requests a sentence of probation,

without incarceration, to serve the goal of avoiding unwanted disparity in

sentencing.

   I. 18 U.S.C. § 3553(a)(7) Need to Provide Restitution to Victims

      In his plea agreement, Mr. Rockholt agreed to pay $2,000 in restitution.

Indeed, the costs to repair the damage to the Capitol and its grounds are

substantial. Mr. Rockholt works at an hourly wage and will for the remainder

of his life. As a result, placing Mr. Rockholt into custody does not serve this

factor. Further, upon information and belief from other defense attorneys


                                       24
    Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 25 of 27




involved in similar cases, the Bureau of Prisons is designating all defendants

sentenced to incarceration to serve the terms of imprisonment at a Bureau of

Prisons facility and not the local jails where the defendants reside. The

collateral effect of this will cause Mr. Rockholt to take longer to get employed

to make his restitution payments.

   J. Character Letters

      Filed contemporaneously with this Sentencing Memorandum are

character letters attesting to Mr. Rockholt’s good character. The letters are from:

      1. Becki and Jimmy Rockholt, Mr. Rockholt’s parents

      2. Chris Rockholt, Mr. Rockholt’s brother

      3. Alex Chase, lifelong friend

      4. David Deskins, a longtime friend

      5. John LaDuca, a lifelong friend

      6. Judy Barefoot, Mr. Rockholt’s elementary school teacher

   IV.       CONCLUSION

      A sentence of time served with a significant period of supervised release,

restitution, and special assessments, is “sufficient, but not greater than

necessary to accomplish the goals of sentencing.” Mr. Rockholt requests that


                                        25
   Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 26 of 27




the Court impose this sentence. Alternatively, a sentence of not more than 12

months’ probation would be sufficient.

      Respectfully submitted on June 30, 2023.

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                                     26
   Case 1:23-cr-00104-TNM Document 74 Filed 06/30/23 Page 27 of 27




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 30, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to Melanie L. Alsworth, Trial Attorney, at

melanie.alsworth2@usdoj.gov, U.S. Department of Justice, Narcotic &

Dangerous Drugs Section, c/o 601 D Street, N.W., Washington, D.C. 20530, and

Holly Grosshans, Assistant U.S. Attorney, U.S. Attorney’s Office for the District

of Columbia, 601 D Street, N.W., Washington, D.C. 20530.

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                                       27
